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DECLARATION OF NICOLE RAMOS, BORDER RIGHTS PROJECT DIRECTOR, AL
‘OTRO LADO

I, Nicole Ramos, pursuant to 28 U.S.C. § 1746, declare as follows:

1. I make this declaration based on my personal knowledge except where I have indicated
otherwise. If called as a witness, I would testify competently and truthfully to these matters.

2. Lama USS. licensed attorney practicing in the area of immigration law and human rights.
I am barred by the State of New York, and I am a former Assistant Federal Public Defender. I
am the Border Rights Project Director of Al Otro Lado. In that capacity, I work with asylum
seekers in Tijuana, Mexico. I have been a resident of Tijuana for the last five years, and have
been working with asylum seekers in Tijuana and accompanying them to U.S. ports of entry
since December 2015.

3. Ina previous declaration, see East Bay Sanctuary Covenant v. Barr, No. 3:19-cv-04073-
JST (N.D. Cal.) ECF No, 3-3 (July 17, 2019), Al Otro Lado’s Litigation and Policy Director,
Erika Pinheiro, explained our organization’s work and the harms we will experience from the
Interim Final Rule (“Rule’’) at issue in this litigation, which categorically bars from asylum
individuals who enter the southern land border after transiting through a third country without
applying for protection there This declaration supplements that first declaration. For the reasons
explained in that declaration, the Rule will significantly harm Al Otro Lado as an organization,
seriously frustrate Al Otro Lado’s mission, divert organizational resources, and jeopardize Al
Otro Lado’s funding.

4. I write to supplement the Declaration of Erika Pinheiro to make clear that Al Otro Lado
will suffer serious harms if the Rule is allowed to go into effect everywhere other than the Ninth
Circuit. To fully remedy the harms the Rule will inflict on Al Otro Lado, it is essential that the

Rule be declared unlawful and enjoined nationwide, not just in the Ninth Circuit.
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5. Of the thousands of noncitizens Al Otro Lado serves through its offices in Tijuana,
Mexico, some ultimately enter the United States outside the Ninth Circuit, including Texas and
New Mexico. For example, asylum seekers who we encounter through our Tijuana office
sometimes will go to a different border point outside the Ninth Circuit where the wait list is not
as long as it is in Tijuana, or, out of necessity, will decide to enter elsewhere along the border
without inspection to seek asylum.

6. Furthermore, of those individuals who do enter the United States in the Ninth Circuit,
many ultimately end up in jurisdictions in the United States outside the Ninth Circuit. For
example, Al Otro Lado clients who entered the United States along the southern border in
California have ended up in Colorado, Georgia, Maine, Maryland, Michigan, Minnesota, and
Wisconsin. These individuals wind up in jurisdictions outside the Ninth Circuit because they are
detained there, or because they are paroled from detention and go to live with sponsors who
reside outside the Ninth Circuit.

7. Indeed, in my experience, it is quite common for asylum seekers to enter the country at
one place along the southern border and travel to other parts of the country before applying for
asylum. For example, asylum seekers who present at a port of entry or are apprehended near the
border may be detained by the government and transferred to a location far away from their point
of entry. As a result, those asylum seekers may have a credible fear interview in a different
Circuit from that in which they entered. Asylum seekers who are placed in removal proceedings
after passing credible fear and then released on bond or parole may travel to any part of the
country and request to have their removal proceedings transferred there. Thus, an asylum seeker
may, for example, enter the U.S. through California, have her credible fear interview in New

Jersey, and ultimately apply for asylum through her removal proceedings in Maryland. In my
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experience, our clients who are unaccompanied minors are particularly likely to have spent time
in multiple shelters in different parts of the country before applying for asylum.

8. It is impossible for Al Otro Lado to know with certainty ex ante where a given asylum
seeker whom we serve prior to their entry will ultimately enter the United States, or where they
will end up once they are in the United States, or where a given asylum seeker whom we serve
while in detention will end up if released from custody.

9. Therefore, if the Rule is only enjoined in certain parts of the country, rather than
nationwide, Al Otro Lado will have to advise asylum seekers without knowing whether they will
ultimately be subject to the Rule’s categorical asylum bar or not. To fulfill our professional
obligations, we will have to account for all possibilities in our advice, and will have to advise
asylum seekers about outcomes if the Rule is applied to them, and also if it is not. Having to do
so will require us to expend significant organizational resources regarding training materials,
staff time, resources, and capacity, and would create a serious burden for Al Otro Lado.

10. As detailed in Erika Pinheiro’s declaration, the Rule requires Al Otro Lado to revamp our
representation strategy; overhaul our training materials, service delivery model, and materials we
have developed to assist asylum seekers; engage Mexican attorneys; and redo our registration
documents for our non-profit status in Mexico. These harms persist if the Rule is only enjoined
in part of the country, because, as explained above, Al Otro Lado will have to advise asylum
seekers without knowing whether or not they ultimately will be subject to the Rule.

11. Had Al Otro Lado been provided the opportunity to comment on the Rule before it went
into effect, Al Otro Lado would have submitted comments about why the Rule is unlawful and

factually unsupported, and why it must be rescinded nationwide.
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I hereby declare under penalty of perjury that the farégoing is true and correct.

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Nicole Ramos _
Executed this Ath day of August 2019

  
